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                EXHIBIT 1
   Case: 1:20-cv-02322-DAR Doc #: 56-1 Filed: 12/27/23 2 of 5. PageID #: 831


From:            Peter Curtin
To:              Kyle D. Stroup; Nathan F. Studeny; Jon J. Pinney; Jon W. Groza
Cc:              Yichen Cao; Campbell, Jay R.; Ostrowski, Carter S.; Elliot Mendelson
Subject:         RE: NOCO v. Aukey, et al., (Case No. 1:20-cv-02322) - Notice of Withdrawal and Request for Consent to Motions
Date:            Tuesday, December 19, 2023 1:05:00 PM


Hi Kyle –

Thanks very much for your response.

I’ll confer with my colleagues on this end, but It seems that a call may be in
order regarding the discovery dispute letter – and is certainly needed to arrive
at a suitable proposed extension of the various deadlines (or whatever form of
motion is filed). I’ll follow up with suggested times for a call this week.

We understand NOCO’s desire to resolve these discovery issues expeditiously
but note that Tucker Ellis’ ability to effectively do so on behalf of Aukey at this
point has been affected by the departure of David Bernstein this past summer
(David had been the principal working attorney on the file for Tucker Ellis).

Best Regards –

Peter Curtin
Peter J. Curtin, Partner
Analects Legal LLC
1212 S Naper Blvd. Suite #119 - PMB 238
Naperville, IL 60540-7349
E-mail: pcurtin@analectslegal.com
Tel: 1.240.432.3267

From: Kyle D. Stroup <kds@kjk.com>
Sent: Tuesday, December 19, 2023 12:54 PM
To: Peter Curtin <pcurtin@analectslegal.com>; Nathan F. Studeny <nfs@kjk.com>; Jon J. Pinney
<jjp@kjk.com>; Jon W. Groza <jwg@kjk.com>
Cc: Yichen Cao <ycao@analectslegal.com>; Campbell, Jay R. <Jay.Campbell@tuckerellis.com>;
Ostrowski, Carter S. <Carter.Ostrowski@tuckerellis.com>; Elliot Mendelson
<emendelson@analectslegal.com>
Subject: RE: NOCO v. Aukey, et al., (Case No. 1:20-cv-02322) - Notice of Withdrawal and Request for
Consent to Motions

Pete:

Thanks for letting us know. While we cannot necessarily consent to the motions to withdraw, we will
not object to the motions to withdraw Case No. 1:20-cv-02322, and you may indicate the same to
the Court.

Given that Tucker Ellis is staying on as local counsel for Defendants in Case No. 1:20-cv-02322, has
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been involved in this case from its inception, has, or should have, knowledge of the discovery
dispute, and the discovery dispute needs to be resolved expeditiously so that we may move forward
with discovery, Tucker Ellis should be able to prepare a response to the discovery dispute letter by
December 27, 2023. With that being said, we are willing to have a brief call to better understand the
context here.

As to NOCO’s Second Set of Requests for Admissions, we are willing to provide a 30-day extension of
the response deadline to February 2, 2024. However, such extension requires a corresponding
extension/stay of the current case deadlines. A motion seeking extension/stay of case deadlines
should be put before the Court as soon as possible, and we are willing to discuss joining in or not
opposing such motion once we are able to review a draft.

Thank you,

KYLE D. STROUP
Associate | KJK


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From: Peter Curtin <pcurtin@analectslegal.com>
Sent: Tuesday, December 19, 2023 1:33 PM
To: Kyle D. Stroup <kds@kjk.com>; Nathan F. Studeny <nfs@kjk.com>; Jon J. Pinney <jjp@kjk.com>;
Jon W. Groza <jwg@kjk.com>
Cc: Yichen Cao <ycao@analectslegal.com>; Campbell, Jay R. <Jay.Campbell@tuckerellis.com>;
Ostrowski, Carter S. <Carter.Ostrowski@tuckerellis.com>; Elliot Mendelson
<emendelson@analectslegal.com>
Subject: RE: NOCO v. Aukey, et al., (Case No. 1:20-cv-02322) - Notice of Withdrawal and Request for
Consent to Motions

Hello Counsel –

This follows up on and corrects an error in mu email yesterday (below).

As I was beginning to prepare my withdrawal papers, I was reminded that
neither I nor Analects Legal have appeared as counsel for the Aukey
Technology Co., Ltd. in Case No. 1:20-cv-00049-SO.

Instead, we represent two other defendants. My mistake reflects just how long
that case sat dormant (as to most defendants).

Therefore, please disregard my request below as it relates to Case No. 1:20-cv-
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00049.

We would still appreciate a response regarding NOCO’s position on (a) my
Motion for Leave to Withdraw in Case No. 1:20-cv-02322; and (b) Aukey’s
request for extensions of time to respond to NOCO’s discovery letter and to
NOCO’s Second Set of Requests for Admission due to changing counsel as
soon as possible.


Best Regards –

Pete Curtin
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From: Peter Curtin
Sent: Monday, December 18, 2023 1:10 PM
To: Kyle D. Stroup <kds@kjk.com>; Nathan F. Studeny <nfs@kjk.com>; Jon J. Pinney <jjp@kjk.com>;
Jon W. Groza <jwg@kjk.com>
Cc: Yichen Cao <ycao@analectslegal.com>; Campbell, Jay R. <Jay.Campbell@tuckerellis.com>;
Ostrowski, Carter S. <Carter.Ostrowski@tuckerellis.com>; Elliot Mendelson
<emendelson@analectslegal.com>
Subject: NOCO v. Aukey, et al., (Case No. 1:20-cv-02322) - Notice of Withdrawal and Request for
Consent to Motions

Hello Kyle and Team:

I’m writing to let you know that I am withdrawing as counsel for Aukey both in
this case (1:20-cv-02322) and in the co-pending case in the Northern District,
1:20-cv-00049.

Aukey consents to my withdrawal from both cases and we’re reaching out to
seek NOCO’s consent as well before filing the required motions for leave to
withdraw. Given the time of year and the current deadlines, we intend to file
these motions by the end of the day tomorrow and would appreciate a
response before then.

For now, Tucker Ellis will remain as local counsel for Aukey. Aukey has begun to
search for replacement lead counsel but does not expect to have a new
lead counsel on board before the end of this year or before the current
           rd
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January 3   deadline for fact discovery in this case.

Aukey’s new counsel will naturally need time to learn the case. The new
counsel also needs to be involved in advising Aukey regarding the parties’
current discovery disputes.

For that reason, Aukey also seeks NOCO’s consent to a thirty-day extension of
time to respond to NOCO’s discovery letter (current deadline December 27th)
in this case and to NOCO’s Second Set of Requests for Admissions (currently
due January 3, 2023).

Aukey is optimistic that the thirty-day extension will be enough time to bring
the new counsel on board and get them up to speed. Aukey recognizes, of
course, that the requested extension of time to respond will also require the
extension of the other deadlines in this case – which as a practical matter is
necessary to complete party and third-party discovery. Aukey is willing to work
with NOCO and the Court in good faith to arrive at a reasonable extension of
all the current deadlines in this case (1:20-cv-02322) which allows both parties
to complete discovery.

Best Regards –

Pete Curtin
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